68 F.3d 459
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Larry BUSTION, Plaintiff-Appellant,v.DIVISION OF CORRECTIONS;  William Smith, Warden;  HermanPuryear, Officer, Defendants-Appellees.
    No. 95-6939.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Aug. 24, 1995.Decided:  Oct. 10, 1995.
    
      Larry Bustion, Appellant Pro Se.
      Before WIDENER, HALL and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant noted this appeal outside the thirty-day appeal period established by Fed.  R.App. P. 4(a)(1), failed to obtain an extension of the appeal period within the additional thirty-day period provided by Fed.  R.App. P. 4(a)(5), and is not entitled to relief under Fed.  R.App. P. 4(a)(6).  The time periods established by Fed.  R.App. P. 4 are "mandatory and jurisdictional."  Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  The district court entered its order on March 31, 1995;  Appellant's notice of appeal was filed on June 21, 1995.  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this court of jurisdiction to consider this case.  We therefore dismiss the appeal.*  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         We also deny Appellant's motion for appointment of counsel
      
    
    